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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


JANE DOE, LUKE LOE, RICHARD ROE, and
MARY MOE, individually and on behalf of all
others similarly situated,                               NOTICE OF MOTION TO
                                                         WITHDRAW APPEARANCE
                                  Plaintiffs,
               v.
THE TRUMP CORPORATION, DONALD J.                        No. 18 Civ. 9936
TRUMP, in his personal capacity,
DONALD TRUMP JR., ERIC TRUMP, and
IVANKA TRUMP,
                                Defendants.



                    NOTICE OF MOTION TO WITHDRAW APPEARANCE

       PLEASE TAKE NOTICE that, upon the accompanying declaration of Joshua Matz, dated

January 15, 2021, and pursuant to Local Civil Rule 1.4, Plaintiffs respectfully request the

withdrawal of the appearance of Joshua Matz as counsel on their behalf. Plaintiffs further request,

pursuant to Section 2.5 of the Electronic Case Filing Rules and Instructions, that the email address

jmatz@kaplanhecker.com be removed from the ECF service notification list for this case.

       Plaintiffs shall continue to be represented by remaining counsel of record from Kaplan

Hecker & Fink LLP and Emery Celli Brinckerhoff Abady Ward & Maazel LLP.




Dated: January 15, 2021                              Respectfully submitted,


So Ordered.                                          /s/ Joshua Matz
                                                     Joshua Matz
Dated: January 19, 2021
       New York, New York
